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 6                          UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF MICHIGAN
 7                                   SOUTHERN DIVISION

 8   UNITED STATES OF AMERICA,                         )
                                                       )
 9
                             Plaintiff,                )
                                                       )    NO. 21-CR-00040-RJJ
10
             vs.                                       )
11                                                     )    Hon. Robert J. Jonker
     CHRISTOPHER ALLAN BODEN, a/k/a                    )    Chief United States District Judge
12   “Captain,” LEESA BETH VOGT, a/k/a                 )
     “Lis Bokt,” a/k/a “Moose,” and DANIEL             )    Hon. Phillip J. Green
13   REYNOLD DEJAGER, a/k/a “Daniel                    )    United States Magistrate Judge
     Reynold,” a/k/a “Daniel Miester,” a/k/a           )
14   “Danichi,”                                        )
                                                       )
15                           Defendants.               )
                                                       )
16
                                                       )
17

18
                            DEFENDANT DANIEL REYNOLD DEJAGER’S
                               WAIVER OF SPEEDY TRIAL RIGHTS
19
             I, Daniel Reynold Dejager, understand that I have the right to a speedy trial
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     pursuant to 18 U.S.C. § 3161. I have discussed this right with my attorney, who
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     informed me that he is continuing to review the discovery in this case and otherwise
22
     preparing for trial. After consultation with my attorney, I believe that it is in my best
23
     interest to allow my counsel additional time to prepare for trial. I therefore knowingly
24

25


      Waiver of Speedy Trial - 1                           HESTER LAW GROUP, INC., P.S.
                                                           1008 SOUTH YAKIMA AVENUE, SUITE 302
                                                               TACOMA, WASHINGTON 98405
                                                                      (253) 272-2157
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